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 8                           UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ARIZONA
 9
                                    TUCSON DIVISION
10   Jane Doe, by her next friend and parents       Case No. 4:23-cv-00185-JGZ
11   Helen Doe and James Doe; and Megan Roe,
     by her next friend and parents, Kate Roe and   JOINT NOTICE OF CROSS MOTIONS
12   Robert Roe,                                    FOR SUMMARY JUDGMENT
                       Plaintiffs,
13
            v.
14
     Thomas C. Horne in his official capacity as
15   State Superintendent of Public Instruction;
     Laura Toenjes, in her official capacity as
16
     Superintendent of the Kyrene School
17   District; Kyrene School District; The
     Gregory School; and Arizona Interscholastic
18   Association Inc.,
19                     Defendants,
20
     Warren Petersen, in his official capacity as
21   President of the Arizona State Senate, and
     Ben Toma, in his official capacity as
22   Speaker of the Arizona House of
23   Representatives,

24                     Intervenor-Defendants.

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 1          Pursuant to the Court’s Scheduling Orders, as amended, see, e.g., ECF Nos. 122,
 2   232, the parties file this Joint Notice of Cross Motions for Summary Judgment.
 3          Plaintiffs, Defendant Horne, and Intervenor-Defendants will each separately be
 4   filing motions for summary judgment on March 31, 2025.
 5          The AIA plans to file a motion for summary judgment if it cannot otherwise resolve
 6   all of Plaintiffs’ claims against the AIA prior to the deadline for filing dispositive motions.
 7          The Gregory School, Kyrene School District, and Superintendent Toenjes will not
 8   be filing motions for summary judgment.
 9          Respectfully submitted this 10th day of March, 2025.
10
11
                                                 /s/ Colin M . Proksel___________________
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                                                 /s/ Jordan Ellel (with permission)
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